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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

EVOL, INC.,                                          §
                                                     §
         Plaintiff,                                  §
                                                     §
v.                                                   §
                                                     §   CIVIL ACTION NO. 3:09-cv-1839-O
SUPPLEMENT SERVICES, LLC d/b/a                       §
MuscleMeds,                                          §
                                                     §
         Defendant.                                  §


                      ORDER GRANTING JOINT MOTION TO AMEND
                        THE APRIL 14, 2010 SCHEDULING ORDER

         Before the Court is the Joint Motion to Amend the April 14, 2010 Scheduling Order (the

“Motion”). Having considered the Motion and the relevant law, the Court GRANTS the Motion.

Accordingly, it is ORDERED that the April 14, 2010 Scheduling Order is modified as set forth

below, and that the following deadlines shall now govern in this matter:

                 Motions for leave to join parties to be filed by Wednesday, September 15, 2010.

                 Motions for leave to amend pleadings to be filed by Wednesday, September 15,
                 2010.

                 All discovery to be completed by Wednesday, December 15, 2010.

                 Motions to compel discovery to be filed by Monday, November 8, 2010.

                 Designation of expert witness and service of expert reports by party bearing
                 burden of proof by Tuesday, October 5, 2010.

                 Designation of expert witness and service of expert reports by party not bearing
                 burden of proof by Monday, November 8, 2010.

                 Daubert Objections to expert witnesses to be filed by Tuesday, February 15,
                 2011.

                 Mediation to be conducted by Wednesday, December 29, 2010.



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          Joint Estimate of Trial Length and Status Report to be filed by Wednesday,
          January 5, 2011.

          Dispositive Motions to be filed by Monday, January 17, 2011.

          Motions Not Otherwise Covered to be filed by Monday, January 17, 2011.



                                 United States Magistrate Judge




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